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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 SEVEN NETWORKS, LLC

                Plaintiff,                                  Civil Action No. 3:21-cv-1036

        v.

 MOTOROLA MOBILITY LLC                                      JURY TRIAL DEMANDED

                Defendant.




         PLAINTIFF SEVEN’S NOTICE REGARDING MOTION TO COMPEL
       Plaintiff SEVEN Networks, LLC (“SEVEN”) hereby provides notice regarding its Motion

to Compel Motorola to Produce Documents and Discovery (Dkt. 151) (“Motion”). One of the

three issues remaining in dispute in the Motion relates to SEVEN’s request that Motorola produce

the Sonrai expert reports. See Dkt. 163-01 at 1-3.

       On June 21, 2023, a week after briefing on the Motion was completed, Motorola informed

SEVEN for the first time that the Sonrai expert reports have been destroyed. Following this

revelation, SEVEN repeatedly asked Motorola’s counsel when they first learned the reports were

destroyed and why they did not inform SEVEN’s counsel earlier, but Motorola’s counsel refuses

to answer. See Ex. 1.

       SEVEN spent considerable time and effort meeting and conferring, corresponding, and

briefing this issue over four months while Motorola objected that the reports contain third-party

confidential information, Motorola’s only objection on the eve of SEVEN filing its Motion. See

Dkt. 140-04 at APPX0245. Not once during this four-month period did Motorola advise SEVEN



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that the reports had been destroyed. SEVEN can only assume that Motorola did not know for this

four-month period that the reports had been destroyed—otherwise it would be guilty of having

misled SEVEN. But if Motorola indeed did not know of the reports’ destruction, that would mean

Motorola never even bothered to ask its ITC counsel if the reports were available before briefing

the issue to the Court, even though Motorola had had months to investigate.

        Regardless, if the reports have been destroyed, the Court cannot compel production. While

reserving all of its rights, SEVEN requests that the Court issue an order on the remaining two

issues pending in the Motion. To the extent the Court would like to hear from the parties on this

issue or any other issue in its Motion, SEVEN is available for a telephonic conference.1

Dated: June 26, 2023                                  Respectfully submitted,

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  As if Motorola’s actions were not enough, after SEVEN informed Motorola it intended to file
this notice withdrawing this portion of the discovery dispute, Motorola immediately asked the
Court for leave to file a sur-reply on the issue, even though Motorola knew the issue was now
moot. Dkt. 169.


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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has been

served on all counsel of record via CM/ECF on June 26, 2023.



                                                         /s/ Kevin Schubert
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